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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

         ----------------------------------------------------------x
                                                                   :
         In re                                                     : Chapter 11
                                                                   :
         ALPHA ENTERTAINMENT LLC,                                  : Case No. 20-10940 (LSS)
                                                                   :
                           Debtor.1                                :
                                                                   : Ref. Docket Nos. 55 and 181
         ----------------------------------------------------------x
                  NOTICE OF (I) CANCELED AUCTION AND (II) SUCCESSFUL BIDDER

                  PLEASE TAKE NOTICE that, on April 21, 2020, the above-captioned debtor and

         debtor in possession (the “Debtor”) filed the motion for entry of an order approving the bidding

         procedures in connection with the sale of substantially all of the Debtor’s assets and scheduling

         an auction [Docket No. 55] (the “Bidding Procedures Motion”). On May 28, 2020, the United

         States Bankruptcy Court for the District of Delaware entered an order [Docket No. 181] (the

         “Bidding Procedures Order”) establishing certain procedures that governed the sale and auction.

                  PLEASE TAKE FURTHER NOTICE that, pursuant to the Bidding Procedures Order,

         the deadline for Qualified Bidders2 to submit bids was July 30, 2020 at 5:00 p.m. (ET) (the “Bid

         Deadline”), and to the extent that only one Qualified Bid was received by the Bid Deadline, the

         Auction was to be canceled.

                  PLEASE TAKE FURTHER NOTICE that the Debtor received one Qualified Bid by

         the Bid Deadline from Alpha Acquico, LLC (“Alpha Acquico”), a joint venture between The

         Garcia Companies and Redbird Capital Partners Management LLC. The Qualified Bid of Alpha

         Acquico is for the purchase of substantially all of the Debtor’s assets for a purchase price of (a)

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           The last four digits of the Debtor’s federal tax identification number are 7778. The Debtor’s mailing address is
         1266 East Main St., Stamford, CT 06902.
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           All capitalized terms not defined herein shall have the meaning ascribed to them in the Bidding Procedures Motion
         or Bidding Procedures Order, as applicable.
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         $15,000,000, (b) the assumption of certain specified liabilities, and (c) the payment of cure

         amounts of up to $8,500,000 for agreements designated by Alpha Acquico to be assumed and

         assigned by the Debtor in accordance with the designation procedures provided in the asset

         purchase agreement and order approving the sale.

                  PLEASE TAKE FURTHER NOTICE that, no other Qualified Bids were received by

         the Bid Deadline, and the Debtor hereby provides notice of cancellation of the Auction. The

         Debtor will seek entry of an order approving the sale to Alpha Acquico at the sale hearing

         scheduled for August 7, 2020 at 10:00 a.m. (ET).


         Dated:    August 3, 2020                YOUNG CONAWAY STARGATT & TAYLOR, LLP
                   Wilmington, Delaware
                                                 /s/ Matthew B. Lunn
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                                                 Counsel to the Debtor and Debtor in Possession




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